     Case 2:90-cv-00520-KJM-DB Document 6762 Filed 07/15/20 Page 1 of 26


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10

11                               IN THE UNITED STATES DISTRICT COURT

12                            FOR THE EASTERN DISTRICT OF CALIFORNIA

13                                          SACRAMENTO DIVISION

14

15
     RALPH COLEMAN, et al.,                                  Case No. 2:90-cv-00520 KJM-DB (PC)
16
                                               Plaintiffs,   DEFENDANTS’ CENSUS, WAITLISTS,
17                                                           AND TRANSFER TIMELINES
                      v.                                     COMPLIANCE REPORTS FOR
18                                                           INPATIENT MENTAL HEALTH CARE

19   GAVIN NEWSOM, et al.,

20                                           Defendants.

21

22          Defendants California Department of Corrections and Rehabilitation (CDCR) and

23   Department of State Hospitals (DSH) file the attached reports capturing data concerning patient

24   census, waitlists, and compliance with transfer timelines for inpatient mental health care in

25   compliance with the Court’s October 13, 2015 order. (ECF No. 5367.) Attached are letters from

26   DSH and CDCR enclosing the following census and inpatient reports, as modified by the Court’s

27   April 19, 2017 order (ECF No. 5610): (1) DSH CDCR Patient Census and Waitlist Report

28   (Exhibit A); (2) DSH Psychiatric Inpatient Timelines Compliance Report, Patients Admitted June
     [3419376.1]                                    1
       Defs.’ Census, Waitlists and Compliance Reports for Inpatient Mental Health Care (2:90-cv-00520 KJM-DB (PC))
     Case 2:90-cv-00520-KJM-DB Document 6762 Filed 07/15/20 Page 2 of 26


 1   1 through June 30, 2020 Who Waited Beyond Program Guide Timelines (Exhibit B); (3) CDCR

 2   Psychiatric Inpatient Programs (PIP) Coleman Patient Census and Waitlist Report as of June 29,

 3   2020 (Exhibit C); (4) CDCR Mental Health Crisis Bed Coleman Patient Census and Waitlist

 4   Report as of June 29, 2020 (Exhibit D); (5) Psychiatric Inpatient Programs Census Report as of

 5   6/29/20 (Exhibit E); and (6) CDCR Inpatient Program Referrals: Compliance with Program

 6   Guide Timeframes for Acute and Intermediate Referrals Admitted or Closed in June 2020

 7   (Exhibit F).

 8             The compliance reports at Exhibits B and F show that of the 214 patients admitted to

 9   inpatient programs in June 2020, 118 were admitted within Program Guide timelines, and 45

10   were admitted beyond Program Guide timelines subject to exceptions. All reported exceptions

11   are based on COVID-19 except for two patients who were admitted beyond program timelines

12   due to hospital stays. One patient was admitted to an inpatient program two days beyond

13   Program Guide transfer timelines without an exception.

14     Dated: July 15, 2020                                       XAVIER BECERRA
                                                                  Attorney General of California
15                                                                ADRIANO HRVATIN
                                                                  Supervising Deputy Attorney General
16

17                                                                /S/ ELISE OWENS THORN
                                                                  Elise Owens Thorn
18                                                                Deputy Attorney General
                                                                  Attorneys for Defendants
19

20

21

22

23

24

25

26

27

28
     [3419376.1]                                           2
       Defs.’ Census, Waitlists and Compliance Reports for Inpatient Mental Health Care (2:90-cv-00520 KJM-DB (PC))
         Case 2:90-cv-00520-KJM-DB Document 6762 Filed 07/15/20 Page 3 of 26
State of California – Department of State Hospitals                         Gavin Newsom, Governor
Office of the Director
1600 9th Street, Room 151
Sacramento, California 95814
www.dsh.ca.gov




     July 15, 2020

     Adriano Hrvatin, Esq.
     Elise Owens Thorn, Esq.
     California Department of Justice
     455 Golden Gate Avenue, Suite 11000
     San Francisco, CA 94102-5500

     Re:      DEFENDANTS’ CENSUS, WAITLISTS AND TRANSFER TIMELINES
              COMPLIANCE REPORTS FOR INPATIENT MENTAL HEALTH CARE


     Dear Mr. Hrvatin and Ms. Thorn:

     The California Department of State Hospitals (DSH) submits its monthly
     information on patient census, referrals, waitlists, and transfer timeline compliance
     for inpatient mental health care.

     The DSH CDCR Patient Census and Waitlist Report as of June 29, 2020, attached
     as Exhibit A, and the DSH Psychiatric Inpatient Timelines Compliance Report,
     Patients Admitted June 1, 2020 through June 30, 2020 Who Waited Beyond
     Program Guide Timelines, attached as Exhibit B, are based on data from the DSH
     Bed Utilization Management Report.

     The report attached as Exhibit A reflects data collected at a single point in time
     and, as a result, should not be used for purposes outside of that report. The report
     attached as Exhibit B is the compliance report from DSH, which includes requested
     compliance data for all DSH referrals admitted to inpatient care in June 2020, for
     any inmate-patient who waited beyond the timelines specified in the Mental Health
     Services Delivery System Program Guide (2009 Revision) at 12-1-16.

                                                      Sincerely,


                                                      /s/ Stephanie Clendenin
                                                      STEPHANIE CLENDENIN
                                                      Director
                                                      Department of State Hospitals




                       “Caring Today for a Safe and Healthy Tomorrow”
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                     Exhibit A
 State of California                                                                                                                                                                                                                              GAVIN NEWSOM, Governor

 DIVISION OF HOSPITAL STRATEGIC PLANNING AND IMPLEMENTATION
 Patient Management Unit
 1600 Ninth Street, Room 420
 Sacramento, CA 95814



                                                                                                           DSH CDCR Patient Census and Waitlist Report
                                                                                                                            Data as of: 6/29/20
 Acute Care Patients
                                                                                                               Beds         Medical Isolation
      DSH Facility - Acute - Female       Bed Capacity             Census             Beds on Hold1                                                  Available Beds                                  Waitlist                               Total Patients
                                                                                                             Redlined2          Rooms3
                                                                                                                                                                                                                                          Awaiting Admission
                                                                                                                                                                        Referrals Pending               Accepted Referrals
                       Patton6                  -                      0                     0                   0                  0                      0
                                                                                                                                                                             Review              CDCR Prison4          CDCR PIP5                    0
                        Total                   -                      0                     0                   0                  0                      0                     0                      0                        0     (Includes 0 Waiting >10 Days)


 Intermediate Care Low Custody - Unlocked Dorms
                                                                                                               Beds         Medical Isolation
     DSH Facility - Unlocked Dorms        Bed Capacity             Census             Beds on Hold1                                                  Available Beds                                  Waitlist                               Total Patients
                                                                                                             Redlined2          Rooms3
                                                                                                                                                                                                                                          Awaiting Admission
                   Atascadero                  256                   223                     3                   0                  0                      30           Referrals Pending                   Accepted Referrals
                       Coalinga                50                     45                     0                   0                  0                      5                 Review              CDCR Prison4              CDCR PIP5                30

                        Total                  306                   268                     3                   0                  0                      35                   25                      2                        3     (Includes 0 Waiting >30 Days)



 Intermediate Care Low Custody - Unlocked Dorms - Female

  DSH Facility - Unlocked Dorms -                                                                              Beds         Medical Isolation
                                          Bed Capacity             Census             Beds on Hold1                                                  Available Beds                                  Waitlist                               Total Patients
              Female                                                                                         Redlined2          Rooms3
                                                                                                                                                                                                                                          Awaiting Admission
                                                                                                                                                                        Referrals Pending               Accepted Referrals
                       Patton6                 30                     10                     0                   0                  0                      20
                                                                                                                                                                             Review              CDCR Prison4          CDCR PIP5                    0
                        Total                  30                     10                     0                   0                  0                      20                    0                      0                        0     (Includes 0 Waiting >30 Days)

 1
 Beds on hold are assigned for internal patient movement and patients waiting to transfer to DSH. When allocated Coleman beds are at maximum capacity within the facility, beds with patients pending discharge may be placed on hold for accepted patients to
 maximize bed utilization. This may result in negative totals for available beds, but does not necessarily imply exceeding capacity.
 2
   Redlined beds are temporarily unavailable due to repairs.
 3
   Medical isolation rooms are required for licensing and physically differ from the other housing in the program, i.e., have showers or restricted sightlines into the cell, and are deemed inappropriate for everyday use.
 4
   Direct referrals from a CDCR prison for patients awaiting transfer to DSH for inpatient treatment.
 5
     Referrals for patients currently receiving inpatient treatment within a CDCR PIP referred to DSH for stepdown of LRH or Level of Care change.
 6
     Beds at DSH-P are for female patients only.
                                                                                                                                                                                                                                                               Case 2:90-cv-00520-KJM-DB Document 6762 Filed 07/15/20 Page 5 of 26




Source: BUMMs                                                                                                                       1 of 1
Case 2:90-cv-00520-KJM-DB Document 6762 Filed 07/15/20 Page 6 of 26




                     Exhibit B
State of California                                                                                                                                                                                            GAVIN NEWSOM, Governor

DIVISION OF HOSPITAL STRATEGIC PLANNING AND IMPLEMENTATION
Patient Management Unit
1600 Ninth Street, Room 420
Sacramento, CA 95814




                                                                                 DSH Psychiatric Inpatient Timelines Compliance Report
                                                                 Patients Admitted June 1 through June 30, 2020 Who Waited Beyond Program Guide Timelines


                                     Level of Care                                        Patients Waiting Outside Program Guide Timelines3                              Days Waited Outside Program Guide Timelines4

                              Intermediate Care Admissions                                                           0                                                                        0
                                        Subtotal                                                                     0                                                                        0
                                                                             1
     Exceptions to Program Guide Timelines - OTC, OTH, and Medical Holds                                             0                                                                        0
               Exceptions to Program Guide Timelines - Internal Referrals2                                           0                                                                        0
               Total Excluding Exceptions to Program Guide Timelines                                                 0                                                                        0

1
 Includes exceptions to the Program Guide timelines for referrals on hold for patients with out-to-court status, out-to-hospital status, and medical holds.
2
 Includes exceptions to the Program Guide timelines for CDCR patients currently receiving inpatient treatment within a DSH program and have been referred for internal movement within DSH.
3
 Includes patients admitted in June 2020 who waited greater than 30 days from the DSH referral received date.
4
 Includes the total number of days patients admitted in June 2020 waited beyond 30 days from the DSH referral received date.
                                                                                                                                                                                                                             Case 2:90-cv-00520-KJM-DB Document 6762 Filed 07/15/20 Page 7 of 26




Source: BUMMs                                                                                                    1 of 2
State of California                                                                                                                                                                GAVIN NEWSOM, Governor

DIVISION OF HOSPITAL STRATEGIC PLANNING AND IMPLEMENTATION
Patient Management Unit
1600 Ninth Street, Room 420
Sacramento, CA 95814




                                                                          DSH Psychiatric Inpatient Timelines Compliance Report
                                                         Patients Admitted June 1 through June 30, 2020 Who Waited Beyond Program Guide Timelines
Patients Admitted to Intermediate Care
                                                                                      Number of Days
                                                                                                                                              Total Days Waited
                                                   CDCR Direct/       Total Days on       Waited
                      Name               CDCR #                                                         Total Days on Hold   Exclusion Days       Excluding       Exception Reason(s)
                                                   DSH Internal          Waitlist     Beyond Program
                                                                                                                                                 Exceptions
                                                                                      Guide Timelines
                       -                   -              -                 -                -                  -                  -                  -                    -
  Total Number of Patients Waiting                Total Number of
                                           0                               0                0                   0                  0                 0                     -
           Over 30 Days                           Days All Patients
                                                                                                                                                                                                Case 2:90-cv-00520-KJM-DB Document 6762 Filed 07/15/20 Page 8 of 26




Source: BUMMs                                                                                      2 of 2
              Case 2:90-cv-00520-KJM-DB Document 6762 Filed 07/15/20
STATE OF CALIFORNIA — DEPARTMENT OF CORRECTIONS AND REHABILITATION
                                                                       Page 9 of 26
                                                                EDMUND G. BROWN JR., GOVERNOR

DIVISION OF HEALTH CARE SERVICES
STATEWIDE MENTAL HEALTH PROGRAM
P.O. Box 588500
Elk Grove, CA 95758




        July 15, 2020

        Adriano Hrvatin, Esq.
        Elise Owens Thorn, Esq.
        California Department of Justice
        455 Golden Gate Avenue, Suite 11000
        San Francisco, CA 94102-5500

        RE:      DEFENDANTS’ CENSUS, WAITLISTS AND TRANSFER TIMELINES
                 COMPLIANCE REPORTS FOR INPATIENT MENTAL HEALTH CARE

        Dear Mr. Hrvatin and Ms. Thorn:
               The California Department of Corrections and Rehabilitation (CDCR) submits its monthly
        information on patient census, referrals, waitlists, and transfer timeline compliance for inpatient
        mental health care.

               The CDCR Psychiatric Inpatient Programs (PIP) Coleman Patient Census and Waitlist
        Report as of June 29, 2020 (Exhibit C), the CDCR Mental Health Crisis Bed Coleman Patient
        Census and Waitlist Report as of June 29, 2020 (Exhibit D), the Psychiatric Inpatient Programs
        Census Report as of 6/29/2020 (Exhibit E), and the CDCR Inpatient Program Referrals:
        Compliance with Program Guide Timeframes for Acute and Intermediate Referrals Admitted or
        Closed in June 2020 (Exhibit F), are generated using data from CDCR’s tracking software, the
        Referrals to Inpatient Programs Application.

                The reports attached as Exhibits C and D reflect data collected at a single point in time
        and, as a result, should not be used for purposes outside of those reports. The reports attached as
        Exhibit F are compliance reports from CDCR, which include requested compliance data for all
        referrals admitted to inpatient care in June 2020, for any inmate-patient who waited beyond the
        timelines specified in the Mental Health Services Delivery System Program Guide (2009
        Revision) at 12-1-16.
     Case 2:90-cv-00520-KJM-DB Document 6762 Filed 07/15/20 Page 10 of 26
July 15, 2020
Page Two
        Although not reflected in CDCR’s census and waitlist report and PIP census report at
Exhibits C and E, the California Medical Facility’s PIP is operating with thirteen beds offline
due to staffing shortages (psychiatry and nursing) and an additional two beds offline within dorm
housing in order to achieve physical distancing.

Sincerely,

/s/ Amar Mehta
AMAR MEHTA, M.D.
Deputy Director (A)
Statewide Mental Health Program
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                     Exhibit C
                                                                                                             CDCR Psychiatric Inpatient Programs (PIP)
                                                                                                         Coleman Patient Census and Waitlist Report as of
                                                                                                                          June 29, 2020
                                                                                                                            Medical
                                                                                          Beds             Beds                            Available
MALE ACUTE PIPs                                        Bed Capacity        Census                                          Isolation
                                                                                        Reserved1        Redlined2                           Beds             Pending             Accepted                              Total Acute Referrals
                                                                                                                            Rooms3                                                                   Total Waitlist
                                                                                                                                                             Referrals4           Referrals5                             Waiting > 10 Days
California Health Care Facility (CHCF)                      163              103             11              0                 7               42
California Medical Facility (CMF)                           206              181             6               0                 0               19
Total                                                       369              284             17              0                 7               61                104                   1                   105                     12

                                                                                                                            Medical
                                                                                           Beds                                            Available                                                                                                Total Intermediate
MALE INTERMEDIATE LOCKED DORM PIP                      Bed Capacity        Census                     Beds Redlined        Isolation                                               Accepted
                                                                                         Reserved                                            Beds        Pending Referrals                           Total Waitlist                                  Referrals Waiting
                                                                                                                            Rooms                                                  Referrals
                                                                                                                                                                                                                                                        > 30 Days
CMF                                                          84              66              3               0                 0               15
Total                                                        84              66              3               0                 0               15                 4                    0                    4                                                 1

                                                                                                                            Medical
                                                                                           Beds                                            Available
MALE INTERMEDIATE HIGH CUSTODY PIPs                    Bed Capacity        Census                     Beds Redlined        Isolation
                                                                                         Reserved                                            Beds
                                                                                                                            Rooms
                                                                                                                                                                                                                                                    Total Intermediate
CHCF Single Cell                                            354              353             1               0                11               -11                                 Accepted
                                                                                                                                                         Pending Referrals                           Total Waitlist                                  Referrals Waiting
CMF Multi Cell                                              70               45              3               0                 0               22                                  Referrals
                                                                                                                                                                                                                                                        > 30 Days
CMF Single Cell                                             106              105             0               0                 0                1
SVSP Multi Cell                                             44               35              4               0                 0                5
SVSP Single Cell                                            202              170             15              1                 0               16
Total                                                       776              708             23              1                11               33                149                  15                   164                                               18

                                                                                                                            Medical
                                                                                           Beds                                            Available
MALE HIGH CUSTODY PIP                                  Bed Capacity        Census                     Beds Redlined        Isolation                                                                                                                Total Intermediate
                                                                                         Reserved                                            Beds                                  Accepted                             Total Acute Referrals
                                                                                                                            Rooms                        Pending Referrals                           Total Waitlist                                  Referrals Waiting
                                                                                                                                                                                   Referrals                             Waiting > 10 Days
CSP, San Quentin (Condemned)                                 30              23              0               0                 0                7                                                                                                       > 30 Days
CSP, San Quentin (Non-Condemned)                             10               7              0               0                 0                3
Total                                                        40              30              0               0                 0               10                 0                    0                    0                      0                          0

                                                                                                                            Medical
                                                                                           Beds                                            Available                                                                                                Total Intermediate
FEMALE HIGH CUSTODY PIP                                Bed Capacity        Census                     Beds Redlined        Isolation                                               Accepted                             Total Acute Referrals
                                                                                         Reserved                                            Beds        Pending Referrals                           Total Waitlist                                  Referrals Waiting
                                                                                                                            Rooms                                                  Referrals                             Waiting > 10 Days
                                                                                                                                                                                                                                                        > 30 Days
California Institution for Women                             45              30              0               0                 0               15
Total                                                        45              30              0               0                 0               15                 3                    0                    3                      0                          0

                                                                                                                            Medical                                                                                                                 Total Intermediate
                                                                                           Beds                                            Available                               Accepted                             Total Acute Referrals
                                                       Bed Capacity        Census                     Beds Redlined        Isolation                     Pending Referrals                           Total Waitlist                                  Referrals Waiting
                                                                                         Reserved                                            Beds                                  Referrals                             Waiting > 10 Days
                                                                                                                            Rooms                                                                                                                       > 30 Days
GRAND TOTALS - ALL PIPs                                     1314            1118             43              1                18              134                260                  16                   276                     12                        19
1
    Beds Reserved - Beds held or endorsed to by the Health Care Placement Oversight Program (HCPOP) for a specific patient. The referral is either pending clinical acceptance by the PIP or the patient is pending transfer to the PIP.
2
    Beds Redlined - Beds are temporarily unavailable fpr patient placement due to repairs or single cell status (if a two-man cell).
3
    Medical Isolation Rooms - Rooms are required for licensing and physically differ from the other housing cells in the program, i.e., have showers or restricted sightlines into the cell, and are deemed inappropriate for everyday use.
4
  Pending Referrals - Includes all referrals received by the Mental Health Inpatient Referrals Unit (new inpatient referral, level of care transfers, least restrictive housing transfers) that are pending a clinical referral review, least restrictive housing
determination, HCPOP endorsement/bed vacancy, or inpatient program acceptance.
5
  Accepted Referrals - Includes all referrals that have been endorsed to a bed, have been accepted by the inpatient program, and are awaiting transfer.
                                                                                                                                                                                                                                                                         Case 2:90-cv-00520-KJM-DB Document 6762 Filed 07/15/20 Page 12 of 26




* There are 12 APP referrals, waiting greater than 10 days, that are pending exceptions due to COVID-19.
**There are 18 ICF referrals, waiting greater than 30 days, that are pending exceptions due to COVID-19; and there is 1 ICF referral, waiting greater than 30 days, that is pending a medical hold exception.




Data Source: RIPA                                                                                                                                                                                                        CCHCS, Health Care Placement Oversight Program
Case 2:90-cv-00520-KJM-DB Document 6762 Filed 07/15/20 Page 13 of 26




                     Exhibit D
                                            CDCR Mental Health Crisis Bed
                                    Coleman Patient Census and Waitlist Report as of
                                                    June 29, 2020


                                                                                                               Total Pending
CDCR MHCB                                             Beds     Available   Total Pending
                     Bed Capacity     Census                                               Beds Assigned         Referrals
Programs                                            Redlined     Beds        Referrals
                                                                                                                > 24 hours
Male Programs            424            272            18        134            3                 2                  1
Female Programs          41              11             0        30             1                 0                  0
            Totals       465            283            18        164            4                 2                  1
                                                                                                                                       Case 2:90-cv-00520-KJM-DB Document 6762 Filed 07/15/20 Page 14 of 26




Data Source: HEART                                                                    CCHCS, Health Care Placement Oversight Program
Case 2:90-cv-00520-KJM-DB Document 6762 Filed 07/15/20 Page 15 of 26




                      Exhibit E
                                   Case 2:90-cv-00520-KJM-DB Document 6762 Filed 07/15/20 Page 16 of 26                                           Monday, 6/29/2020
                                                                                                                                                       Time: 04:30 PM


                                PSYCHIATRIC INPATIENT PROGRAMS CENSUS AND PENDING LIST REPORT AS OF 06/29/2020
                     Facility                                    Bed Capacity                                    Beds Occupied
                                                                  Male Acute Care Programs
                                            PIP-Vacaville             206              No Score:                                                        3
                                                                                       Level I:                                                         11
                                                                                       Level II:                                                        39
                                                                                       Level III:                                                       28
                                                                                       Level IV                                                        100
                                                                                       Total Census:                                                   181
                                            PIP-Stockton              163              No Score:                                                        2
                                                                                       Level I:                                                         11
                                                                                       Level II:                                                        25
                                                                                       Level III:                                                       11
                                                                                       Level IV                                                         54
                                                                                       Total Census:                                                   103
                                         DSH-Atascadero                0               No Score:                                                        0
                                                                                       Level I:                                                         0
                                                                                       Level II:                                                        0
                                                                                       Level III:                                                       0
                                                                                       Level IV                                                         0
                                                                                       Total Census:                                                    0
              Totals for Male Acute                                  369                                                                               284
                                                     Male Intermediate Care Facility (High Custody) Programs
                                            PIP-Stockton              354              No Score:                                                        2
                                                                                       Level I:                                                        13
                                                                                       Level II:                                                       56
                                                                                       Level III:                                                      33
                                                                                       Level IV                                                       249
                                                                                       Total Census:                                                  353
                                                                                       Total out of LRH:                                              214
                                            PIP-Vacaville             106              No Score:                                                        2
                                                                                       Level I:                                                         2
                                                                                       Level II:                                                       16
                                                                                       Level III:                                                      16
                                                                                       Level IV                                                        69
                                                                                       Total Census:                                                  105
                                                                                       Total out of LRH:                                               47
                                      PIP-Vacaville Multi-             70              No Score:                                                        0
                                             person Cells
                                                                                       Level I:                                                         0
                                                                                       Level II:                                                        8
                                                                                       Level III:                                                       6
                                                                                       Level IV                                                        31
                                                                                       Total Census:                                                   45
                                                                                       Total out of LRH:                                               14




                                                                                                               CCHCS, Health Care Placement Oversight Program
Page 1 of 3                                                                                                    Referrals to Inpatient Programs Application (RIPA)
                                 Case 2:90-cv-00520-KJM-DB Document 6762 Filed 07/15/20 Page 17 of 26                                         Monday, 6/29/2020
                                                                                                                                                   Time: 04:30 PM


                              PSYCHIATRIC INPATIENT PROGRAMS CENSUS AND PENDING LIST REPORT AS OF 06/29/2020
                   Facility                                   Bed Capacity                                   Beds Occupied
                                    PIP-Salinas Valley            202               No Score:                                                       1
                                                                                    Level I:                                                        4
                                                                                    Level II:                                                       18
                                                                                    Level III:                                                      15
                                                                                    Level IV                                                       120
                                                                                    PC 1370:                                                        10
                                                                                    WIC 7301:                                                       2
                                                                                    Total Census:                                                  170
                                                                                    Total out of LRH:                                              63
                 PIP-Salinas Valley Multi-person Cells             44               No Score:                                                       0

                                                                                    Level I:                                                        1
                                                                                    Level II:                                                       9
                                                                                    Level III:                                                      9
                                                                                    Level IV                                                        16
                                                                                    PC 1370:                                                        0
                                                                                    WIC 7301:                                                       0
                                                                                    Total Census:                                                   35
                                                                                    Total out of LRH:                                              13
       Totals for Male ICF High Custody                           776                                                                              708
                                                  Male Intermediate Care Facility (Low Custody) Programs
                                  PIP-Vacaville Dorms              84               No Score:                                                       0
                                                                                    Level I:                                                        2
                                                                                    Level II:                                                       18
                                                                                    Level III:                                                      15
                                                                                    Level IV                                                        31
                                                                                    Total Census:                                                   66
                                                                                    Total out of LRH:                                              18
                                     DSH-Atascadero                256              No Score:                                                       0
                                                                                    Level I:                                                        32
                                                                                    Level II:                                                      133
                                                                                    Level III:                                                      23
                                                                                    Level IV                                                        36
                                                                                    Total Census:                                                  224
                                          DSH-Coalinga             50               No Score:                                                       0
                                                                                    Level I:                                                        2
                                                                                    Level II:                                                       23
                                                                                    Level III:                                                      7
                                                                                    Level IV                                                        13
                                                                                    Total Census:                                                   45
       Totals for Male ICF Low Custody                             390                                                                             335
                                                                     Male Programs
                                     PIP-San Quentin               30               Total Census:                                                  23


                                     PIP-San Quentin               10               No Score:                                                      0
                                     Non-condemned                                  Level I:                                                       0
                                                                                    Level II:                                                      2
                                                                                    Level III:                                                     1
                                                                                    Level IV                                                       4
                                                                                    Total Census:                                                  7
               Totals for Male                                     40                                                                              30
                 ICF/Acute




                                                                                                           CCHCS, Health Care Placement Oversight Program
Page 2 of 3                                                                                                Referrals to Inpatient Programs Application (RIPA)
                                 Case 2:90-cv-00520-KJM-DB Document 6762 Filed 07/15/20 Page 18 of 26                                           Monday, 6/29/2020
                                                                                                                                                     Time: 04:30 PM


                              PSYCHIATRIC INPATIENT PROGRAMS CENSUS AND PENDING LIST REPORT AS OF 06/29/2020
                   Facility                                  Bed Capacity                                      Beds Occupied
                                                                   Female Programs
                                         DSH-Patton               30              No Score:                                                          0
                                                                                  Level I:                                                           3
                                                                                  Level II:                                                          6
                                                                                  Level III:                                                         0
                                                                                  Level IV                                                           1
                                                                                  Total Census:                                                      10
                 PIP-California Institution for Women             45              No Score:                                                          4

                                                                                  Level I:                                                           3
                                                                                  Level II:                                                          9
                                                                                  Level III:                                                         1
                                                                                  Level IV                                                           12
                                                                                  WIC 7301:                                                          1
                                                                                  Total Census:                                                      30
                                                                                  Total out of LRH:                                                  8
         Totals for Female ICF/Acute                               75                                                                                40
                                             Total Inpatient Program Capacity and Census - Male and Female
              GRAND TOTALS                                       1650                                                                               1397




                                                                                                             CCHCS, Health Care Placement Oversight Program
Page 3 of 3                                                                                                  Referrals to Inpatient Programs Application (RIPA)
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                      Exhibit F
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                                                                              DETAIL OF APP REFERRALS OUT OF COMPLIANCE
                                                                                               MAY 2020
                                                                                                                                                        Days from                    Days over
   HCPOP                              Accepting   Date Placed on                                                                                                        Within
                HCPOP Endorsement                                 Inpatient Program Inpatient Prog Admit              Comments for                      Referral to                   Program
Endorsement                           Inpatient     Accepted                                                                            Referral Status             Program Guide
                      Date                                            Admitted           Date/Time                  DELAY / EXCEPTION                   MH IRU and                     Guide
  Location                             Program     Referrals List                                                                                                    Timeframes?
                                                                                                                                                        Admission                   Timeframes
 APP: CHCF      06/10/2020 10:41:00   APP: CHCF    06/22/2020        APP: CHCF       06/26/2020 15:30:00 EXCEPTION: COVID 19              Admitted         17            N              7
 APP: CHCF      06/08/2020 13:27:00   APP: CHCF    06/15/2020        APP: CHCF       06/15/2020 14:37:08 EXCEPTION: COVID 19              Admitted         27            N             17
 APP: CHCF      06/09/2020 09:27:00   APP: CHCF    06/17/2020        APP: CHCF       06/18/2020 10:30:43 EXCEPTION: COVID 19              Admitted         13            N              3
  APP: VPP      06/02/2020 11:13:00   APP: VPP     06/08/2020         APP: VPP       06/09/2020 15:17:00 EXCEPTION: COVID 19              Admitted         18            N              8
 APP: CHCF      06/16/2020 10:10:00   APP: CHCF    06/16/2020        APP: CHCF       06/16/2020 16:22:00 EXCEPTION: COVID 19              Admitted         32            N             22
                                                                                                           EXCEPTION: COVID 19
 APP: CHCF      04/01/2020 15:19:00
                                      APP: CHCF    06/09/2020        APP: CHCF       06/18/2020 15:21:51                                  Admitted         86            N             76
 APP: CHCF      06/08/2020 15:35:00

ICF-High: VPP                                                                                              EXCEPTION: COVID 19
                04/10/2020 14:59:00
   (Single)                           APP: VPP     06/09/2020         APP: VPP       06/10/2020 14:14:46                                  Admitted         68            N             58
                06/02/2020 14:46:00
  APP: VPP
 APP: CHCF      06/08/2020 13:28:00   APP: CHCF    06/15/2020        APP: CHCF       06/15/2020 14:36:08 EXCEPTION: COVID 19              Admitted         47            N             37
  APP: VPP      06/05/2020 11:28:00   APP: VPP     06/08/2020         APP: VPP       06/09/2020 16:09:00 EXCEPTION: COVID 19              Admitted         21            N             11
  APP: VPP      06/10/2020 13:27:00   APP: VPP     06/16/2020         APP: VPP       06/17/2020 12:51:14 EXCEPTION: COVID 19              Admitted         47            N             37
 APP: CHCF      06/12/2020 13:53:00   APP: CHCF    06/15/2020        APP: CHCF       06/16/2020 16:24:00 EXCEPTION: COVID 19              Admitted         15            N              5
  APP: VPP      06/15/2020 13:50:00   APP: VPP     06/17/2020         APP: VPP       06/18/2020 15:35:48 EXCEPTION: COVID 19              Admitted         41            N             31
 APP: CHCF      06/11/2020 14:07:00   APP: CHCF    06/15/2020        APP: CHCF       06/15/2020 14:10:09 EXCEPTION: COVID 19              Admitted         27            N             17
  APP: VPP      06/18/2020 16:23:00   APP: VPP     06/23/2020         APP: VPP       06/24/2020 15:37:49 EXCEPTION: COVID 19              Admitted         54            N             44
 APP: CHCF      06/18/2020 15:35:00   APP: CHCF    06/22/2020        APP: CHCF       06/22/2020 14:27:59 EXCEPTION: COVID 19              Admitted         20            N             10
 APP: CHCF      06/05/2020 15:44:00   APP: CHCF    06/08/2020        APP: CHCF       06/09/2020 12:44:06 EXCEPTION: COVID 19              Admitted         13            N              3
  APP: VPP      06/05/2020 14:27:00   APP: VPP     06/08/2020         APP: VPP       06/09/2020 16:09:00 EXCEPTION: COVID 19              Admitted         13            N              3
                                                                                                           EXCEPTION: COVID 19
  APP: VPP      06/15/2020 11:54:00   APP: VPP     06/23/2020         APP: VPP       06/23/2020 20:18:00                                  Admitted         53            N             43

  APP: VPP      06/18/2020 18:09:00   APP: VPP     06/22/2020         APP: VPP       06/29/2020 11:09:36 EXCEPTION: COVID 19              Admitted         11            N              1
 APP: CHCF      06/12/2020 15:06:00   APP: CHCF    06/15/2020        APP: CHCF       06/16/2020 14:39:30 EXCEPTION: COVID 19              Admitted         39            N             29
                                                                                                                                                                                                 Case 2:90-cv-00520-KJM-DB Document 6762 Filed 07/15/20 Page 23 of 26




  APP: VPP      06/08/2020 10:12:00   APP: VPP     06/12/2020         APP: VPP       06/19/2020 18:22:13 EXCEPTION: COVID 19              Admitted         24            N             14
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